         Case 1:12-md-02409-WGY Document 1097 Filed 10/20/14 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


In re: Nexium (Esomeprazole Magnesium)               MDL No. 2409
Antitrust Litigation
                                                     Civil Action No. 1:12-md-02409-WGY
This Document Relates to: All Actions



     ASTRAZENECA’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE TO
             PRECLUDE DEFENDANTS FROM INTRODUCING
            EVIDENCE OCCURRING ON OR AFTER MAY 27, 2014

         AstraZeneca joins in Teva and Ranbaxy’s oppositions (ECF Nos. 1090 & 1091) to

Plaintiffs’ Motion in Limine (ECF No. 1071), and writes separately to add as follows:

         1.    Plaintiffs intend to ply the jury with theory after speculative theory about what

might have happened to Teva’s generic Nexium ANDA had AstraZeneca and Teva not settled

their patent litigation. Plaintiffs now propose that, at the same time, they be permitted to keep

from the jury the most relevant evidence that possibly could bear on this question—what actually

did happen. See ECF No. 857 at 7 & n.1 (“all truths are not for telling”). That neither Teva nor

any of the other twelve Nexium ANDA filers has yet received final FDA approval is clearly

relevant to whether Teva could have obtained final FDA approval for its generic Nexium product

in the absence of the AstraZeneca-Teva settlement agreement.

         2.    Plaintiffs offer no basis—and there is none—to preclude AstraZeneca from

making this point to the jury. Plaintiffs certainly do not suggest (nor could they) that

AstraZeneca withheld any discovery bearing in any way on the absence of any generic approvals

today.
       Case 1:12-md-02409-WGY Document 1097 Filed 10/20/14 Page 2 of 3




       For these reasons as well as those identified in Teva and Ranbaxy’s oppositions,

Plaintiffs’ motion in limine asking the Court to issue a blanket ruling precluding all post-May 27,

2014 evidence should be denied.

Dated: October 20, 2014                              Respectfully submitted,

                                                     /s/ Dane H. Butswinkas
                                                     Dane H. Butswinkas (pro hac vice)
                                                     John E. Schmidtlein (pro hac vice)
                                                     Paul B. Gaffney (pro hac vice)
                                                     WILLIAMS & CONNOLLY LLP
                                                     725 Twelfth Street, N.W.
                                                     Washington, DC 20005
                                                     Ph: 202-434-5000
                                                     Fax: 202-434-5029
                                                     DButswinkas@wc.com
                                                     JSchmidtlein@wc.com
                                                     PGaffney@wc.com

                                                     Michael P. Kelly (pro hac vice)
                                                     MCCARTER & ENGLISH, LLP
                                                     Renaissance Centre
                                                     405 N. King Street, 8th Floor
                                                     Wilmington, DE 19801
                                                     Ph: 302-984-6301
                                                     Fax: 302-984-2493
                                                     mkelly@mccarter.com

                                                     William A. Zucker, Esq., BBO # 541240
                                                     MCCARTER & ENGLISH, LLP
                                                     265 Franklin Street
                                                     Boston, MA 02110
                                                     617.449.6500
                                                     617.607.9200 (facsimile)
                                                     wzucker@mccarter.com

                                                     Counsel for AstraZeneca LP, AstraZeneca
                                                     AB, and Aktiebolaget Hässle




                                                 2
       Case 1:12-md-02409-WGY Document 1097 Filed 10/20/14 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I, James H. Weingarten, hereby certify that this document was electronically filed and

served using the Court’s ECF system on October 20, 2014.

                                    /s/ James H. Weingarten     _
                                    James H. Weingarten




                                               3
